Case 3:20-cv-08267-ZNQ-TJB Document 140-1 Filed 08/12/22 Page 1 of 6 PageID: 1680




  MALAMUT & ASSOCIATES, LLC
  Mark R. Natale, Esq.
  457 Haddonfield Road, Suite 500
  Cherry Hill, New Jersey 08002
  Attorneys for Intervenor, Office of the Burlington County Clerk

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


   CHRISTINE CONFORTI, et al.,
                                              Case No.: 3:20-cv-08267-ZNQ-TJB
                      Plaintiffs,
         vs.
                                               CERTIFICATE OF SERVICE
   CHRISTINE GIORDANO HANLON,
   in her official capacity as Monmouth
   County Clerk, et al.,

                      Defendants.




        BRIEF ON BEHALF OF INTERVENOR, OFFICE OF THE BURLINGTON
       COUNTY CLERK, IN SUPPORT OF MOTION TO INTERVENE PURSUANT
                            TO FED. R. CIV. P. 24.




                                        MALAMUT AND ASSOCIATES, LLC
                                        Mark R. Natale, Esq.
                                        457 Haddonfield Road, Suite 500
                                        Cherry Hill, New Jersey 08002
                                        (856) 424-1808
                                        Attorneys for Intervenor, Office of the
                                        Burlington County Clerk.
Case 3:20-cv-08267-ZNQ-TJB Document 140-1 Filed 08/12/22 Page 2 of 6 PageID: 1681




                                  PRELIMINARY STATEMENT

            The Office of the Burlington County Clerk is a non-party at interest in this case, as

  identified along with every county clerk in the state by the Plaintiffs in their complaint. From the

  time the Plaintiffs put all county clerks on notice of this action, the Office of the Burlington

  County Clerk through their counsel have remained apprised of the progress of the litigation.

  Now, with preliminary motions resolved and responsive pleadings filed, the rights and

  obligations of all county clerks are going to be litigated to the merits. As such, the Office of the

  Burlington County Clerk moves to intervene in this action pursuant to Federal Rule of Civil

  Procedure 24.

            For the reasons outlined below, this court should allow the Office of the Burlington

  County Clerk to intervene in this action as of right, or in the alternative, this court should use its

  discretion to permit the Office of the Burlington County Clerk to intervene.

                                         LEGAL ARGUMENT

      I.        Federal Intervention Standard

      Intervention in this action is governed by Federal Rule of Civil Procedure 24 (a), which

  states:

            “on timely motion, the court must permit anyone to intervene who…claims an interest

            relating to the property or transaction that is the subject of the action, and is so situated

            that disposing of the action may as a practical matter impair or impede the movant’s

            ability to protect its interest..” See Fed. R. Civ. P. 24(a).

            Along with intervention as of right, Rule 24 proscribes the standard for permissive

  intervention. Specifically, the federal rules allow permissive intervention for when a non-party

  has a claim that shares with the main action a “common question of law or fact.” See Fed. R.
Case 3:20-cv-08267-ZNQ-TJB Document 140-1 Filed 08/12/22 Page 3 of 6 PageID: 1682




  Civ. P. 24(b). Intervention under Rule 24(b) is granted within the sound discretion of the trial

  court. See Brody v. Spang, 957 F.2d 1108, 1124 (3d Cir. 1992). The court, in determining

  whether to grant permissive intervention, should consider whether intervention will unduly delay

  or prejudice the adjudication of the original parties’ rights. See Fed. R. Civ. P. 24(b)(3).

            In the instant action, the Office of the Burlington County Clerk should be able to

  intervene under both portions of Rule 24. The Office of the Burlington County Clerk has an

  interest in this litigation, which the Plaintiffs have already identified, and have a right to protect

  their interest. Additionally, as this matter is just entering litigation after the initial pleading stage,

  allowing intervention will not delay the case or prejudice the original parties.

      II.      Office of the Burlington County Clerk Has a Right to Intervene
               Pursuant to Fed R. Civ. P. 24(a)(2).

            It is undisputed that the Office of the Burlington County Clerk has an interest in this

  matter. In fact, the Plaintiffs admitted as much in their complaint where they wrote:

            “The County Clerks for the remaining 18 counties in New Jersey are not parties to the

      Complaint but are being or will be furnished with a copy of the Complaint because they also

      enforce and administer ballot design and ballot placement laws which are called into question

      in this action in their respective counties: Atlantic, Bergen, Burlington, Camden, Cape

      May..” See Plaintiff’s Complaint, ECF # 1, para. 21 (emphasis added).

            Additionally, Plaintiff’s complaint elaborates on the exact rights and obligations of the

  County Clerk’s office that this litigation will impact, specifically stating that county clerks have

  statutory obligations including the “design, preparation, printing of all ballots, the issuance of

  mail in ballots, and conducting a drawing for ballot position..” See Plaintiff’s Complaint, ECF #

  1 , para. 17-20.



                                                      3
Case 3:20-cv-08267-ZNQ-TJB Document 140-1 Filed 08/12/22 Page 4 of 6 PageID: 1683




         The Third Circuit has enumerated four factors that must be met in order to grant

  intervention, specifically:

         1) The application to intervene must be timely.

         2) The intervening part must have a sufficient interest in the underlying litigation.

         3) A threat to the intervening parties interest will be impacted by the pending action; and

         4) The existing parties to the action do not represent the intervenors interests.

         See Liberty Mut. Ins. Co. v. Treesdale, Inc., 419 F.3d 216, 220 (3d Cir. 2005).

         Each one of these factors are met. First, the motion is timely. Timeliness is determined by

  a fact-specific analysis that considers the stage of the case, whether there will be prejudice to any

  parties, and the reason for any delay. See Mountain Top Condo. Ass’n v. Dave Stabbert Master

  Builder, Inc., 72 F.3d 361, 366 (3d Cir. 1995). Here, the case is at the preliminary stages, with

  preliminary motions and responsive pleadings just being completed. No party will be prejudiced

  by entry of an intervenor at this time. Lastly, the Office of the Burlington County Clerk was

  justified in waiting to see if this case would proceed to the merits before intervening. See

  Certification of Joanne Schwartz. Now that the merits will be adjudicated, it is clear that the

  interests of the Office of the Burlington County Clerk must be represented.

         Satisfying the second and third elements, the Office of the Burlington County Clerk has

  sufficient interest in the underlying litigation and that interest will be impacted by the disposition

  of this action. This is admitted to by the Plaintiffs in their complaint and cannot reasonably be in

  dispute. The Plaintiffs named the Office of the Burlington County Clerk as a non-party of

  interest. It cannot be argued now these elements are not met.




                                                    4
Case 3:20-cv-08267-ZNQ-TJB Document 140-1 Filed 08/12/22 Page 5 of 6 PageID: 1684




         Lastly, the Office of the Burlington County Clerk should have the right to represent itself

  and its interest, without relying on existing parties. While multiple clerks’ offices were named in

  the original complaint, other clerks’ offices filed intervention. Each time, this court found that

  the elements were satisfied, and that the non-party offices met the requirements for intervention.

  See ECF # 22; ECF # 62. This allowed those offices to independently represent their interests

  and not rely on the other offices involved in the litigation. The same approach should be

  followed here, and the Office of the Burlington County Clerk’s motion should be granted.

     III.    In the alternative, the Office of the Burlington County Clerk Should
             be Permitted to Intervene pursuant to Fed. R. Civ. P. 24(b)(1)(B).

         Even if the court is not convinced that each of the elements for intervention as of right are

  not met, this court can use its discretion to allow the Office of the Burlington County Clerk to

  intervene. See Brody v. Spang, 957 F.2d 1108, 1124 (3d Cir. 1992). The court, in determining

  whether to grant permissive intervention, should consider whether intervention will unduly delay

  or prejudice the adjudication of the original parties’ rights. See Fed. R. Civ. P. 24(b)(3).

         Here, there is no case for delay or prejudice as a result of this intervention. The case is

  still in its infancy, with responsive pleadings just filed. The Plaintiffs cannot be prejudiced by the

  intervention of a party it already identified in its complaint as having an interest, and the

  Defendants and other intervenors will not be impacted by another party at interest intervening.

  Therefore, in the alternative to intervention as of right, the Office of the Burlington County Clerk

  respectfully requests the court use its discretion to allow it to intervene, for all of the same

  reasons elaborated on above.




                                                     5
Case 3:20-cv-08267-ZNQ-TJB Document 140-1 Filed 08/12/22 Page 6 of 6 PageID: 1685




                                                Conclusion

         For the reasons stated above, the reasons stated in reply to any opposition, and the

  reasons stated at oral argument, the Office of the Burlington County Clerk respectfully requests

  the instant Motion to Intervene be granted.


                                                              Respectfully Submitted,

                                                              /s/ Mark R. Natale, Esq.
                                                              Malamut & Associates
                                                              Attorneys for the Office of the
                                                              Burlington County Clerk




                                                   6
